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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


                                                     )
ALHIX OYOQUE, individually and on behalf of          ) Case No.
all others similarly situated,                       )
                                                     )
                              Plaintiff,             )
                                                     )
       v.                                            )
                                                     ) JURY TRIAL DEMANDED
DEPAUL UNIVERSITY and BOARD OF                       )
TRUSTEES OF DEPAUL UNIVERSITY,                       )
                                                     )
                              Defendants.            )
                                                     )

                                CLASS ACTION COMPLAINT

       Plaintiff Alhix Oyoque (“Plaintiff”) brings this action on behalf of herself and all others

similarly situated against Defendants DePaul University and the Board of Trustees of DePaul

University (“DePaul” or “Defendants”). Plaintiff makes the following allegations pursuant to the

investigation of her counsel and based upon information and belief, except as to the allegations

specifically pertaining to herself, which are based on personal knowledge.

                                  NATURE OF THE ACTION

       1.      This is a class action lawsuit on behalf of all people who paid tuition and fees for

the Winter and Spring 2020 academic quarters at DePaul or the Spring 2020 academic semester

at DePaul’s School of Law (collectively, the “Spring 2020 Term”), and who, because of

Defendants’ response to the novel Coronavirus (“COVID-19”) pandemic, lost the benefit of the

education for which they paid, and/or the services or which their fees were paid, without having

their tuition and fees refunded to them.
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         2.      DePaul is a private, Roman Catholic university with a total enrollment of over

22,000 undergraduate and graduate students across ten colleges and schools, making it the

largest Catholic university in the United States.1 DePaul offers over 130 undergraduate majors

and 175 graduate degree programs.2 DePaul also operates an online degree program, which

offers undergraduate and graduate-level degrees.3 All DePaul schools and colleges operate on a

quarter system, with the exception of the School of Law, which operates on a semester system.

         3.      On March 11, 2020, Defendants, via DePaul President A. Gabriel Esteban, Ph.D.,

announced that, because of the global COVID-19 pandemic, effective immediately, DePaul

would suspend all in-person final exams for the Winter 2020 Quarter, cancel or postpone all

University-sponsored events, and, “[w]henever possible,” deliver all classes remotely for the

entirety of the Spring 2020 Quarter and, for students of DePaul’s School of Law, the remainder

of the Spring 2020 Semester.4

         4.      Thus, DePaul has not held any in-person classes since March 11, 2020, prior to

the end of the Winter 2020 Quarter. For the remainder of the Winter 2020 Quarter and the

entirety of the Spring 2020 Quarter, classes that continued were only offered in an online format,

with no in-person instruction.

         5.      As a result of the closure of Defendants’ facilities, Defendants have not delivered

the educational services, facilities, access and/or opportunities for which Plaintiff and the

1
 DePaul enrolls around 14,500 undergraduates and about 7,930 graduate students. See
https://www.depaul.edu/about/Pages/default.aspx (last accessed June 9, 2020).
2
    https://www.depaul.edu/academics/Pages/default.aspx (last accessed June 9, 2020).
3
 https://www.depaul.edu/academics/online-learning/Pages/default.aspx (last accessed June 9,
2020).
4
 https://resources.depaul.edu/coronavirus-covid-19-updates/updates/Pages/03-11-2020-all-
university.aspx (last accessed June 9, 2020); see also https://resources.depaul.edu/coronavirus-
covid-19-updates/updates/Pages/3-13-2020-student.aspx (last accessed June 9, 2020) (“Students
should plan on all Spring Quarter courses moving online.”).


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putative Class contracted and paid. The online learning options being offered to DePaul students

are subpar in practically every aspect, from the lack of facilities, materials, and access to faculty.

Students have been deprived of the opportunity for collaborative learning and in-person

dialogue, feedback, and critique. The remote learning options are in no way the equivalent of the

in-person education that Plaintiff and the putative class members contracted and paid for.

           6.    Indeed, as DePaul Interim Provost Salma Ghanem acknowledged in a “message to

students with Spring course information” dated March 23, 2020, the “shift to remote delivery of

courses certainly is an abrupt change from the usual way DePaul operates”5 Further, recognizing

that “remote instruction is a far different experience than the classroom instruction to which

students are accustomed[,]” Interim Provost Ghanem warned students to “keep in mind that

interactions with your class may happen in different ways.”6 President Esteban echoed that

sentiment in an announcement dated March 30, 2020, in which he acknowledged the “concerns

[students have] brought to [Defendants’] attention” and, in particular, that “the decisions

[Defendants] had to make carried a heavy weight of disappointment, especially for [DePaul]

students [like Ms. Oyoque] who will be graduating soon.”7

           7.    Yet, notwithstanding this recognition, Defendants have not refunded any tuition

or fees for the Spring 2020 Term.8


5
 https://resources.depaul.edu/coronavirus-covid-19-updates/updates/Pages/3-23-20-provost-
message.aspx (last accessed June 9, 2020).
6
    Id.
7
 https://resources.depaul.edu/coronavirus-covid-19-updates/updates/Pages/3-30-20-President-
Update.aspx (last accessed June 9, 2020).
8
  https://resources.depaul.edu/coronavirus-covid-19-updates/faqs/Pages/classes-academics-
students.aspx (last accessed June 9, 2020) (“Will DePaul reduce tuition for Spring Quarter?
(Added 3/20/20) * Tuition for Spring Quarter remains the same.”); see also
https://resources.depaul.edu/coronavirus-covid-19-updates/updates/Pages/3-13-2020-
student.aspx (last accessed June 9, 2020) (noting that although “[s]tudents should plan on all


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        8.      Plaintiff and the putative class are therefore entitled to a refund of tuition and fees

for in-person educational services, facilities, access and/or opportunities that Defendants have

not provided. Even if Defendants did not have a choice in cancelling in-person classes, they

nevertheless have improperly retained funds for services they are not providing.

        9.      Plaintiff seeks, for herself and Class members, Defendants’ disgorgement of the

pro-rated portion of tuition and fees, proportionate to the amount of time that remained in the

Spring 2020 Term when classes moved online and campus services ceased being provided.

Plaintiff seeks a return of these amounts on behalf of herself and the Class as defined below.

                                   JURISDICTION AND VENUE

        10.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A),

as amended by the Class Action Fairness Act of 2005 (“CAFA”), because at least one member of

the Class, as defined below, is a citizen of a different state than Defendants, there are more than

100 members of the Class, and the aggregate amount in controversy exceeds $5,000,000

exclusive of interest and costs.

        11.     This Court has personal jurisdiction over Defendants because Defendants’

principal place of business is located in this District, and the acts and transactions giving rise to

this action occurred in this District.

        12.     Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action

because Defendants’ principal place of business is located in this District, Plaintiff resides in this

District, and a substantial part of the events, omissions, and acts giving rise to the claims herein

occurred in this District.




Spring Quarter courses moving online[,] … [t]uition for Spring Quarter remains the same and is
due on March 20.”).


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                                             PARTIES

       13.     Plaintiff Alhix Oyoque is a citizen of Illinois who resides in Cicero, Illinois.

During the Spring 2020 Quarter, Ms. Oyoque was an undergraduate student at DePaul pursuing a

bachelor’s degree in Health Science. Ms. Oyoque is currently an alumnus of DePaul, having

completed her undergraduate degree requirements and graduated at the end of the Spring 2020

Quarter. In-person classes are critical to Ms. Oyoque’s field of study, as it requires in-person

instruction, feedback, and a high level of collaboration, which is made more feasible through in-

class instruction. Ms. Oyoque paid approximately $3,800 in tuition to Defendants for the Spring

2020 Quarter. Ms. Oyoque has not been provided a refund of any tuition monies paid, despite

the fact that in-person classes have not been held since March 11, 2020.

       14.     Defendant DePaul University is a private university organized under the Illinois

General Not for Profit Corporation Act, 805 ILCS 105, et seq., with its principal place of

business at 1 E. Jackson Blvd., Chicago, Illinois 60604.

       15.     Defendant DePaul University is governed by Defendant Board of Trustees of

DePaul University. The Board has approximately 35 voting members. The Board’s principal

place of business is in Chicago, Illinois.

                     FACTS COMMON TO ALL CAUSES OF ACTION

Plaintiff And Class Members Paid Tuition And Fees For The Spring 2020 Term

       16.     Plaintiff and Class members are individuals who paid the cost of tuition and other

mandatory fees for the Winter and Spring 2020 Quarters at DePaul or the Spring 2020 Semester

at DePaul’s School of Law (collectively, the “Spring 2020 Term”).




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          17.    All undergraduate and graduate degree programs at DePaul operate based on a

four-term academic year,9 with the exception of the School of Law, which operates based on a

two-term semester schedule. Winter 2020 Quarter classes at DePaul began on January 4, 2020,

and classes and final exams for the quarter were scheduled to end on or around March 20, 2020.

Spring 2020 Quarter classes at DePaul began on March 28, 2020, and classes and final exams for

the quarter were scheduled to end on or around June 12, 2020.10 Spring 2020 Semester classes at

DePaul’s School of Law began on or about January 13, 2020, and classes and final exams for the

semester were scheduled to end on or around May 14, 2020.11

          18.    Plaintiff and Class members paid the cost of tuition for the Spring 2020 Term at

DePaul, as well as associated fees and costs.

          19.    Undergraduate tuition for the Winter and Spring 2020 Quarters at DePaul varies

based on the student’s degree program and date of enrollment. For instance, DePaul’s Colleges

of Communication, Education, and Arts & Sciences each charge $13,160 per quarter for

undergraduate students who enrolled in 2016 (or $26,320 for the Winter and Spring 2020

Quarters, cumulatively), and $13,517 per quarter for undergraduate students who enrolled in

2019 (or $27,034 for the Winter and Spring 2020 Quarters, cumulatively). Along the same

spectrum, the School of Music and the Theatre School charge from $12,727 to $13,938 per

quarter (or $25,454 to $27,876 for the Winter and Spring 2020 Quarters, cumulatively).12

          20.    The approximate costs of full-time graduate tuition and fees for the Winter and

Spring 2020 Quarters at DePaul, cumulatively, are $28,666 for a Doctorate in Business

9
    Defendants’ website refers to each term as an academic “quarter.”
10
     https://academics.depaul.edu/calendar/Pages/default.aspx (last accessed June 9, 2020).
11
     https://academics.depaul.edu/calendar/Pages/law-calendar.aspx (last accessed June 9, 2020).
12
  https://offices.depaul.edu/student-financial-accounts/cost-of-attendance/tuition/Pages/Tuition-
Rates-2019-2020.aspx (last accessed June 9, 2020).


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Administration, and range from $22,954 to $24,356 for a graduate degree from the Theatre

School (depending on date of enrollment). The approximate costs of full-time graduate tuition

and fees for the Spring 2020 Semester at DePaul’s College of Law range from $23,390 to

$24,335 (depending on date of enrollment).13

            21.   The tuition and fees described above are provided by way of example; total

damage amounts – which may include other fees that are not listed herein but that were not

refunded – will be proven at trial.

In Response To COVID-19, DePaul Closed Campuses And Cancelled All In-Person Classes

            22.   On March 11, 2020, DePaul President Esteban announced that, because of the

global COVID-19 pandemic, effective immediately, all in-person classes would be suspended

through the remainder of the Winter 2020 Quarter. President Esteban further noted that, in lieu

of in-person instruction, all classes at DePaul would be held in online/remote format through the

entirety of the Spring 2020 Quarter, and, for students of DePaul’s School of Law, for the

remainder of Spring 2020 Semester.

            23.   As a result of the closure of Defendants’ facilities, Defendants have not delivered

the educational services, facilities, access and/or opportunities that Plaintiff and members of the

Class contracted and paid for. Plaintiff and the Class are therefore entitled to a refund of all

tuition and fees for services, facilities, access and/or opportunities that Defendants have not

provided. Even if Defendants claim they did not have a choice in cancelling in-person classes,

they nevertheless have improperly retained funds for services it is not providing.

            24.   Plaintiff and the Class did not choose to attend an online institution of higher

learning, but instead chose to attend Defendants’ institution and enroll on an in-person basis.


13
     Id.


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       25.     Defendants market the DePaul on-campus experience as a benefit of enrollment

on DePaul’s website:14




14
   See, e.g., https://www.depaul.edu/student-life/Pages/default.aspx (last accessed June 9, 2020);
https://offices.depaul.edu/student-affairs/student-life/living-on-campus/Pages/default.aspx (last
accessed June 9, 2020).


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       26.     The online learning options being offered to DePaul students are subpar in

practically every aspect and a shadow of what they once were, from the lack of facilities,

materials, and access to faculty.        Students have been deprived of the opportunity for

collaborative learning and in-person dialogue, feedback, and critique. Moreover, office hours for

professors are essentially non-existent given that professors are unable to see their students to

provide in-person assistance.     Email is simply no substitute for instances where additional

teaching is required.

       27.     The remote learning options are in no way the equivalent of the in-person

education putative class members contracted and paid for. The remote education being provided

is not even remotely worth the amount charged Class members in tuition for the Spring 2020

Term at DePaul. The tuition and fees for in-person instruction at DePaul are higher than tuition

and fees for other online institutions because such costs cover not just the academic instruction,

but encompass an entirely different experience which includes but is not limited to:

                       Face to face interaction with professors, mentors, and peers;

                       Access to facilities such as libraries, laboratories, computer labs, and study

                        room;

                       Student governance and student unions;

                       Extra-curricular activities, groups, intramural sports, etc.;

                       Student art, cultures, and other activities;

                       Social development and independence;

                       Hands on learning and experimentation; and

                       Networking and mentorship opportunities.




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       28.     Through this lawsuit Plaintiff seeks, individually and on behalf of the Class,

Defendants’ disgorgement of the pro-rated portion of tuition and fees, proportionate to the

amount of time that remained in the Spring 2020 Term at DePaul, when classes moved online

and campus services ceased being provided. Plaintiff seeks return of these amounts on behalf of

herself and the Class as defined below.

                                       CLASS ALLEGATIONS

       29.     Plaintiff seeks to represent a class defined as all people who paid Defendants’

Spring 2020 Term tuition and/or fees for in-person educational services that DePaul failed to

provide, and whose tuition and fees have not been refunded (the “Class”). Specifically excluded

from the Class are Defendants, Defendants’ officers, directors, agents, trustees, parents, children,

corporations, trusts, representatives, employees, principals, servants, partners, joint ventures, or

entities controlled by Defendants, and their heirs, successors, assigns, or other persons or entities

related to or affiliated with Defendants and/or Defendants’ officers and/or directors, the judge

assigned to this action, and any member of the judge’s immediate family.

       30.     Plaintiff also seeks to represent a subclass consisting of Class members who

reside in Illinois (the “Subclass”).

       31.     Subject to additional information obtained through further investigation and

discovery, the foregoing definition of the Class and Subclass may be expanded or narrowed by

amendment or amended complaint.

       32.     Numerosity.       The members of the Class and Subclass are geographically

dispersed throughout the United States and are so numerous that individual joinder is

impracticable. Upon information and belief, Plaintiff reasonably estimates that there are tens of

thousands of members in the Class and Subclass.           Although the precise number of Class




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members is unknown to Plaintiff, the true number of Class members is known by Defendants and

may be determined through discovery. Class members may be notified of the pendency of this

action by mail and/or publication through the distribution records of Defendants and third-party

retailers and vendors.

       33.         Existence and predominance of common questions of law and fact. Common

questions of law and fact exist as to all members of the Class and Subclass and predominate over

any questions affecting only individual Class members.            These common legal and factual

questions include, but are not limited to, the following:

             (a)      whether Defendants accepted money from Class and Subclass members in

                      exchange for the promise to provide services;

             (b)      whether Defendants have provided the services for which Class and Subclass

                      members contracted;

             (c)      whether Class and Subclass members are entitled to a refund for that portion

                      of the tuition and fees that was contracted for services that Defendants did not

                      provide.

             (d)      whether Defendants have unlawfully converted money from Plaintiff, the

                      Class and Subclass; and

             (e)      whether Defendants are liable to Plaintiff, the Class, and Subclass for unjust

                      enrichment.

       34.         Typicality. Plaintiff’s claims are typical of the claims of the other members of

the Class in that, among other things, all Class and Subclass members were similarly situated and

were comparably injured through Defendants’ wrongful conduct as set forth herein. Further,

there are no defenses available to Defendants that are unique to Plaintiff.




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       35.         Adequacy of Representation. Plaintiff will fairly and adequately protect the

interests of the Class and Subclass. Plaintiff has retained counsel that is highly experienced in

complex consumer class action litigation, and Plaintiff intends to vigorously prosecute this action

on behalf of the Class and Subclass. Furthermore, Plaintiff has no interests that are antagonistic

to those of the Class or Subclass.

       36.         Superiority. A class action is superior to all other available means for the fair

and efficient adjudication of this controversy. The damages or other financial detriment suffered

by individual Class and Subclass members are relatively small compared to the burden and

expense of individual litigation of their claims against Defendants. It would, thus, be virtually

impossible for the Class or Subclass on an individual basis, to obtain effective redress for the

wrongs committed against them. Furthermore, even if Class or Subclass members could afford

such individualized litigation, the court system could not. Individualized litigation would create

the danger of inconsistent or contradictory judgments arising from the same set of facts.

Individualized litigation would also increase the delay and expense to all parties and the court

system from the issues raised by this action. By contrast, the class action device provides the

benefits of adjudication of these issues in a single proceeding, economies of scale, and

comprehensive supervision by a single court, and presents no unusual management difficulties

under the circumstances.

       37.         In the alternative, the Class and Subclass may also be certified because:

             (a)      the prosecution of separate actions by individual Class and Subclass members

                      would create a risk of inconsistent or varying adjudications with respect to

                      individual Class members that would establish incompatible standards of

                      conduct for Defendants;




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             (b)      the prosecution of separate actions by individual Class and Subclass members

                      would create a risk of adjudications with respect to them that would, as a

                      practical matter, be dispositive of the interests of other Class members not

                      parties to the adjudications, or substantially impair or impede their ability to

                      protect their interests; and/or

             (c)      Defendants have acted or refused to act on grounds generally applicable to the

                      Class as a whole, thereby making appropriate final declaratory and/or

                      injunctive relief with respect to the members of the Class as a whole.

                                   FIRST CLAIM FOR RELIEF
                                       Breach Of Contract
                               (On Behalf Of The Class And Subclass)

       38.         Plaintiff hereby incorporates by reference the allegations contained in all

preceding paragraphs of this complaint.

       39.         Plaintiff brings this claim individually and on behalf of the members of the

proposed Class and Subclass against Defendants.

       40.         Through the admission agreement and payment of tuition and fees, Plaintiff and

each member of the Class and Subclass entered into a binding contract with Defendants.

       41.         As part of the contract, and in exchange for the aforementioned consideration,

Defendants promised to provide certain services, all as set forth above. Plaintiff, Class, and

Subclass members fulfilled their end of the bargain when they paid tuition monies due for the

Spring 2020 Term at DePaul. Tuition for the Spring 2020 Term was intended to cover in-person

educational services from January through May 2020. In exchange for tuition monies paid, Class

and Subclass members were entitled to in-person educational services through the end of the

Spring 2020 Term.



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       42.      Defendants have failed to provide the contracted for services and have otherwise

not performed under the contract as set forth above. Defendants have retained monies paid by

Plaintiff and the Class for their Spring 2020 Term tuition and fees, without providing them the

benefit of their bargain.

       43.      Plaintiff and members of the Class and Subclass have suffered damage as a direct

and proximate result of Defendants’ breach, including but not limited to being deprived of the

education, experience, and services to which they were promised and for which they have

already paid.

       44.      As a direct and proximate result of Defendants’ breach, Plaintiff, the Class, and

Subclass are entitled to damages, to be decided by the trier of fact in this action, to include but no

be limited to reimbursement of certain tuition, fees, and other expenses that were collected by

Defendants for services that Defendants have failed to deliver. Defendants should return the pro-

rated portion of any Spring 2020 Term tuition and fees for education services not provided since

DePaul shut down on March 11, 2020.

       45.      Defendants’ performance under the contract is not excused due to COVID-19.

Indeed, Defendants should have refunded the pro-rated portion of any education services not

provided. Even if performance was excused or impossible, Defendants would nevertheless be

required to return the funds received for services they will not provide.

                              SECOND CLAIM FOR RELIEF
                                     Unjust Enrichment
                            (On Behalf Of The Class And Subclass)

       46.      Plaintiff hereby incorporates by reference the allegations contained in all

preceding paragraphs of this complaint.




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         47.   Plaintiff brings this claim individually and on behalf of the members of the

proposed Class and Subclass against Defendants.

         48.   Plaintiff and members of the Class and Subclass conferred a benefit on

Defendants in the form of monies paid for Spring 2020 Term tuition and other fees in exchange

for certain service and promises. Tuition for Spring 2020 Term was intended to cover in-person

educational services from January through May 2020. In exchange for tuition monies paid, Class

members were entitled to in-person educational services through the end of the Spring Term.

         49.   Defendants voluntarily accepted and retained this benefit by accepting payment.

         50.   Defendants have retained this benefit, even though Defendants have failed to

provide the education, experience, and services for which the tuition and fees were collected,

making Defendants’ retention unjust under the circumstances. Accordingly, Defendants should

return the pro-rated portion of any Spring 2020 Term tuition and fees for education services not

provided since DePaul shut down on March 11, 2020.

         51.   It would be unjust and inequitable for Defendants to retain the benefit, and

Defendants should be required to disgorge this unjust enrichment.

                              THIRD CLAIM FOR RELIEF
                                        Conversion
                           (On Behalf Of The Class And Subclass)

         52.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         53.   Plaintiff brings this claim individually and on behalf of the members of the Class

and Subclass against Defendants.




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        54.     Plaintiff and members of the Class and Subclass have an ownership right to the

in-person educational services they were supposed to be provided in exchange for their Spring

2020 Term tuition and fee payments to Defendants.

        55.     Defendants intentionally interfered with the rights of Plaintiff, the Class, and the

Subclass when they moved all classes to an online format and discontinued in-person educational

services for which tuition and fees were intended to pay.

        56.     Plaintiff and members of the Class and Subclass demand the return of the pro-

rated portion of any Spring 2020 Term tuition and fees for education services not provided since

DePaul shut down on March 11, 2020.

        57.     Defendants’ retention of the fees paid by Plaintiff and members of the Class and

Subclass without providing the educational services for which they paid, deprived Plaintiff and

members of the Class and Subclass of the benefits for which the tuition and fees paid.

        58.     This interference with the services for which Plaintiff and members of the Class

and Subclass paid damaged Plaintiff and Class members in that they paid tuition and fees for

services that will not be provided.

        59.     Plaintiff and members of the Class and Subclass are entitled to the return of pro-

rated portion of any Spring 2020 Term tuition and fees for education services not provided since

DePaul shut down on March 11, 2020.

                                           JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

and all issues in this action so triable as of right.




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                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendants, as follows:

              (a)      For an order certifying the nationwide Class and the Subclass under Rule
                       23 of the Federal Rules of Civil Procedure; naming Plaintiff as
                       representative of the Class and Subclass; and naming Plaintiff’s attorneys
                       as Class Counsel to represent the Class and Subclass members;

              (b)      For an order finding in favor of Plaintiff and the Class and Subclass on all
                       counts asserted herein;

              (c)      For compensatory and punitive damages in amounts to be determined by
                       the Court and/or jury;

              (d)      For prejudgment interest on all amounts awarded;

              (e)      For an order of restitution and all other forms of equitable monetary relief;

              (f)      For injunctive relief as pleaded or as the Court may deem proper; and

              (g)      For an order awarding Plaintiff and the Class and Subclass their
                       reasonable attorneys’ fees and expenses and costs of suit.


Dated: June 11, 2020                          Respectfully submitted,

                                              By:     /s/ Carl V. Malmstrom
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